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                                 EXHIBIT T
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Bcc:      "pacenter@tourolaw.edu" <pacenter@tourolaw.edu>
Sent:     Tue, 17 Jun 2014 16:44:16 -0400
Subject: TONIGHT! Vigil for Roberto Clemente Park, June 17 / Vigilia para el Parque Roberto Clemente, 17 de junio
From:     Daniel Altschuler <daniel.altschuler@maketheroadny.org>
To:       "daniel.altschuler@maketheroadny.org" <daniel.altschuler@maketheroadny.org>
2014.6.6.Park Vigil Flyer MRNY.docx

Friends,
Don't forget: tonight's the community vigil at Roberto Clemente Park! Looking forward to seeing you there at 6:30pm
(corner of Broadway and Noble St., Brentwood).

Thanks!
Daniel

—        Forwarded message         —
From: Daniel Altschuler <daniel.altschuler(a).maketheroadnv.org>
Date: Fri, Jun 13, 2014 at 3:20 PM
Subject: Vigil for Roberto Clemente Park, June 17 / Vigilia para el Parque Roberto Clemente, 17 de junio
To: "daniel.altschuler(a),maketheroadnv.org" <daniel.altschuler@,maketheroadnv.org>



Dear friends,



Our communities have been dumped on. Our neighbors have been disrespected. And now ifs time to take
action.



(Hay una traduccion al espanol debajo de este mensaje.)



In recent weeks, we have all watched with horror as the toxic dumping scandal has unfolded. Meanwhile, man^
courageous residents have time and again stood up against the environmental racism to which we have borne
witness to say, "Enough!"



Next Tuesday, our struggle continues as we mourn the closure of Roberto Clemente Park and demand action.
The members of Make the Road New York and New York Communities for Change invite you to join this fight;
we gather on Tuesday, June 17th, at 6:30pm for a vigil at Roberto Clemente Park (Broadway and Noble
Street, Brentwood, NY-see flyer attached) to mourn our closed park and demand action from the Town of
Islip. Can we count on you to join us?



Our communities face an environmental catastrophe in the wake of the illegal dumping in Roberto Clemente Pc
and at least five other sites.



In response, residents have come together, demanding that the Town of Islip:

      Clean up Roberto Clemente Park and all other nearby parks as soon as possible;

      Allocate funds for free summer youth programs for all local residents;
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    Hold all responsible accountable; and

    Keep all residents informed in all languages spoken by local residents.



On Tuesday, at 6:30pm, our vigil at Roberto Clemente Park (Broadway and Noble Street) will be a critical
moment for residents to show their strength and disgust in the face of environmental racism and a broader
pattern of neglect. Join us on Tuesday at 6:30pm and stand with your neighbors and allies for respect and
dignity for our communities!



All are welcome, so please join us.



For more information, please call:

Irma Solis from Make the Road New York at 631-512-1587 or irma.solis(a>maketheroadnv.orq, or

Lucas Sanchez from New York Communities for Change at 646-600-2426 or
lsanchez(5)nycommunities.orq.



In solidarity,

Daniel
*        *       *

Estimad@s amig@s,

Nuestras comunidades han sido contaminadas. A nuestros vecinos les han faltado el respeto. Y ya es el
momento de tomar accion.

En las ultimas semanas, todos hemos visto con horror como el escandalo de los desechos toxicos en nuestros
parques se ha desarrollado. Mientras tanto, muchos residentes valientes se han puesto de pie en contra del
racismo ambiental y han dicho "jBasta!"

El proximo martes, nuestra lucha continua con una vigilia para responder a la clausura del Parque Roberto
Clemente. Los miembros de Se Hace Camino Nueva York y Comunidades de Nueva York por el Cambio le
invitamos a unirse a esta lucha cuando nos reunimos el martes, 17 de junio a las 6:30 pm para una vigilia ei
el Parque Roberto Clemente (esquina de Broadway y Noble Street, Brentwood-volante adjunto) para
expresar nuestra tristeza por la perdida de nuestro parque y exigir accion del Pueblo de Islip. ^Podemos cont
con que se unan a nosotros?

Nuestras comunidades se enfrentan a un catastrofe ambiental como consecuencia de la contaminacion ilegal <
el Parque Roberto Clemente y al menos otros cinco sitios.

En respuesta, los residentes se han unido para exigir que el Pueblo de Islip:

• Limpie el Parque Roberto Clemente y el resto de los parques cercanos lo mas pronto posible;

• Asigne fondos para programas de verano gratis para todos los jovenes del area;

• Asegure que todos los responsables pagan el precio por sus acciones; y
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• Mantenga todos los residentes informados en todos los idiomas hablados por los residentes locales.

El martes, a las 6:30 pm, nuestra vigilia en el Parque Roberto Clemente (Broadway y Noble Street) sera
un momento critico para que los residentes muestren su fuerza en contra del racismo ambiental y una
tendencia mas amplia de la negligencia. jUnase a nosotros el martes a las 6:30 pm y acompane a sus
vecinos y aliados por el respeto y dignidad de nuestras comunidades!

Todos son bienvenidos, asi que por favor unase a nosotros.

Para obtener mas informacion, por favor Name a:

Irma Solis de Se Hace Camino Nueva York al 631-512-1587 o Lucas Sanchez de Comunidades de Nueva
York por el Cambio al 646-600-2426.

En solidaridad,

Daniel




Daniel Altschuler
Long Island Coordinator
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C 917-494-5922
1090 Suffolk Ave | Brentwood. NY 11/17
Join www makelheioadm oru
Follow our work @maketheroadny. @altochulo




Daniel Altschuler
Long Island Coordinator


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                                                        NYfCommunities
                                                                  'for Change


     CANDLELIGHT VIGIL TO MOURN OUR PARK
     Our Community Demands That the Town:
            Clean up Roberto Clemente Park now1
            Allocate funds for free summer youth programs in affected areas'
            Hold all responsible accountable'
            Clean up and repair all nearby parks!
            Keep all residents informed in all languages spoken by local residents'




      WHERE: Roberto Clemente Park
      W H E N : Tuesday June 17, 2014 at 6:30pm
      WHO:      Make the Road New York, New York Communities for Change,
                Make the Road New York's Youth Power Project

      Please wear black and bring flowers.

      For additional information please call:

      Irma Solis, Make the Road N e w York, 631-512-1587
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                                                   NY/fcommum he
                                                             'for Change



             VELORIO DE NUESTRO PARQUE ROBERTO
                          CLEMENTE
     Exigimos que el Pueblo de Islip:
         •   jLimpie el Parque Roberto Clemente y todos los otros parques del area AHORA!
         •   [Designee Fondos para programas de verano para nuestros jovenes/familias!
         •   jHaga que todos responsables deben tomar responsabilidad/despedido!
         •   jLimpiar y reparar todos los parques en el vecindario!
         •   jMantenga a todos los residentes informad@s en todos los idiomas de estos residentes!




      DONDE: Roberto Clemente Park
      CUANDO: Tuesday June 17, 2014 at 6:30pm
      QUIENES: Make the Road New York, Make the Road New York's Youth
               Power Project, New York Communities for Change,
      Por favor vista de negro y traiga flores.

      Para mas informacion y para confirmar su asistencia favor de llamar a:

      Irma Solis, Se Hace Camino Nueva York, 631-512-1587
